                       Case 3:19-mj-08571-MAT Document 2 Filed 09/23/19 Page 1 of 3

A09l    (Rev. 11/11) Criminal Complaint


                                       UNITED STATES DISTRICT COURT
                                                                         for the                                       -



                                                           Western District of Texas
                                                                                                            201S    SL- 23       iT
                   United States of America                                 )
                                                                                                                                       10:   +5
                                 v.                                         )
                                                                            )      Case No.                     L

               Jose Maria Ferreira-TOMAZ
          Maria Elisana Alves de Araujo-TOMAZ                               )
                                                                                                                      .f        ........




                            Defendant(s)


                                                     CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best          of my knowledge and belief.
On or about the date(s) of                      September 20, 2019                 in the county of           El Paso                         in the
       Western           District of               Texas             ,   the defendant(s) violated:

              Code Section                                                            Offense Description
18 U.S.0 371                                        Two or more persons conspire to commit any offense against the United
                                                    States, to defraud the United States, or any agency, in any manner or for any
                                                    purpose.




           This criminal complaint is based on these facts:

See Attached Affidavit




            ( Continued on the attached sheet.
                                                                                                                                   iii

                                                                                           Fernando   E. Bonilla, 1151 Special Agent
                                                                                                      Printed name and title

Sworn to before me and signed in my presence.


Date:              09/23/2019
                                                                                                           Judge 's signature

City and state:                            El   Paso, Texas                               Miguel A. Torres U.S. Magistrate Judge
                                                                                                     Printed name and title
           Case 3:19-mj-08571-MAT Document 2 Filed 09/23/19 Page 2 of 3  E?1dI*

                                           Affidavit

On September 19, 2019, husband and wife Jose Maria Ferreira-TOMAZ and Maria Elisana
Alves de Araujo-TOMAZ entered the United States from Mexico without inspection at an area
approximately .47 miles west of the Paso del Norte Port of Entry in El Paso, Texas. Ferreira-
TOMAZ falsely claimed to United States Border Patrol (USBP) agents they were traveling with
their underage daughter. The purported family are citizens and nationals of Brazil with no claim
to United States Citizenship or legal immigration status as a Lawful Permanent Resident or
otherwise.

Ferreira-TOMAZ, Alves de Araujo-TOMAZ and their underage daughter were part of a larger
group who turned themselves into USBP Agents as soon as they crossed into the Unites States.
Ferreira-TOMAZ stated to BPAs that he was traveling with his wife and daughter and their
destination was Danbury, Connecticut. Ferreira-TOMAZ claimed his daughter was 3 years of
age and presented a Brazilian birth certificate bearing the name, (initials M. E. A. T.), DOB:
XX/XX/20 15, Verification Number: 021535155-2015-1-00020-277-0000834-61,and passport
number #GA226993 issued by the Republic of Brazil as proof of identification. Ferreira-
TOMAZ, Alves de Araujo-TOMAZ and their underage daughter were processed through
immigration as a family unit. During initial processing, USBP agents were not sure about the
birth certificate for the child, so they wrote a referral to HSI special agents to check the
documents for validity and DNA test to verify family relationship.

On September 20, 2019, at approximately 1200 hours, HSI El Paso special agents gained consent
from both Ferreira-TOMAZ and Alves de Araujo-TOMAZ to provide a DNA test sample of all
three of them. At approximately 1330 hours, the results came back as negative family
relationship between the child and the parents.

At approximately 1340 hours, HSI special agents verified with a document expert from the HSI
Forensic Document Laboratory (FDL) on site that the birth certificate issued to the child was
fraudulent. The FDL document expert verified that the passport was genuine, but the
information was based on the fraudulent document. The FDL document expert also verified the
other documents such as the marriage certificate and the adult passports were genuine.

At approximately 1410 hours, HSI El Paso special agents presented a Portuguese version of the
Miranda Warnings to Ferreira-TOMAZ and asked him if he could read in his native language to
which he stated that he did. After reading, Ferreira-TOMAZ stated he understood his rights and
agreed to speak to HSI special agents without an attorney present by signing the document.
Ferreira-TOMAZ was given a Portuguese version to read of the consequences of violating Title
18 USC 1001 Lying to a Federal Law Enforcement Agent to which he stated he understood and
signed.

At approximately 1415 hours, HSI El Paso special agents asked Ferreira-TOMAZ about the
documents he had presented, and he stated that the certificate of marriage was a genuine
           Case 3:19-mj-08571-MAT Document 2 Filed 09/23/19 Page 3 of 3



document but that the birth certificate for the child was fraudulent. Ferreira-TOMAZ stated he
went to a fraudulent document purveyor and paid 500 Reals (about $125 USD) for the fake birth
certificate which he used to secure a passport for the child. Ferreira-TOMAZ stated his wife,
Alves de Araujo-TOMAZ, knew of the scheme and participated willingly. Ferreira-TOMAZ
stated the child is his niece and the daughter of his brother, Junior Ferreira-TOMAZ, who is
living in North Carolina illegally and allowed them to use the child to enter the United States and
remain together as a family unit. Ferreira-TOMAZ admitted being a two-time prior deport and
relied on this scheme to come back to the United States.

A check of law enforcement data bases revealed that Ferreira-TOMAZ was deported from
Connecticut in 2010 and from Texas in January 2019. Alves de Araujo-TOMAZ was deported
from Texas in March 2019.

Case Agent: Fernando E. Bonilla
